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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF KENTUCKY
NORTHERN DIVISION AT COVINGTON

NICHOLAS SANDMANN, by and : CASE NO. 19-CV-00056-WOB-CJS
through his parents and natural guardians,

TED SANDMANN and JULIE

SANDMANN,

Plaintiff,
v.
NBCUNIVERSAL MEDIA, LLC

Defendant.

NICHOLAS SANDMANN, by and : CASE NO. 20-CV-00023-WOB-CJS
through his parents and natural guardians, :

TED SANDMANN and JULIE

SANDMANN,

Plaintiff,
Vv.

THE NEW YORK TIMES COMPANY
d/b/a THE NEW YORK TIMES

Defendant.

NICHOLAS SANDMANN, by and : CASE NO. 20-CV-00024-WOB-CJS
through his parents and natural guardians, :

TED SANDMANN and JULIE

SANDMANN,

Plaintiff,
V.
CBS NEWS, INC., et al.

Defendants.
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NICHOLAS SANDMANN, by and : CASE NO. 2:20-CV-00025-WOB-CJS
through his parents and natural guardians, ;

TED SANDMANN and JULIE

SANDMANN,

Plaintiff,
Vv.
ABC NEWS, INC., et al.

Defendants.

NICHOLAS SANDMANN, by and : CASE NO. 2:20-CV-00026-WOB-CJS
through his parents and natural guardians, :

TED SANDMANN and JULIE

SANDMANN,

Plaintiff,
Vv.

GANNETT CO., INC. AND GANNETT
SATELLITE INFORMATION
NETWORK, LLC,

Defendants.
NICHOLAS SANDMANN, by and CASE NO. 2:20-CV-00027-WOB-CJS
through his parents and natural guardians,
TED SANDMANN and JULIE
SANDMANN,
Plaintiff,
Vv.

ROLLING STONE, LLC, et al.

Defendants.
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DECLARATION OF JON STEGENGA

1. My name is Jon Stegenga. I make this Declaration from personal knowledge and
am competent to testify to the facts stated herein.

2. I am an independent photojournalist and documentarian originally from South
Carolina. I travel to cover events and mostly self-publish. My focus is on environmental, racial,
and social justice issues, and, through my work, I strive to highlight and elevate underrepresented
and marginalized communities, including Indigenous people.

3. I am the individual pictured in the below image with the blue and black scarf:

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4, On January 18, 2019, I drove to Washington, D.C. by myself to document the
Indigenous Peoples March at the National Mall. I stayed by myself while in Washington, D.C.

5. I obtained a media pass for the Indigenous Peoples March from the event organizers
so I could cover the event. With the media pass, the event organizers also gave me an Indigenous

Peoples March t-shirt before the event, which I wore on the day of the event.
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6. I arrived at the Indigenous Peoples March on the morning of January 18, 2019 and
covered the event during the day. As the March was wrapping up at the end of the day, I saw in
the area in front of the Lincoln Memorial members of a group who I understand call themselves
the “Black Hebrew Israelites.”

7. Members of the Black Hebrew Israelites were yelling insulting remarks at a group
of nearby teenagers. I noticed that the Black Hebrew Israelites were getting louder over time.

8. As the situation between the Black Hebrew Israelites and the teenagers grew more
and more tense, I noticed at some point an older Native American man, who I now know is Nathan
Phillips, begin playing his drum and singing while standing in place. I had not heard of Mr. Phillips
before the Indigenous Peoples March that day, or ever talked to him before the Indigenous Peoples
March that day.

9. Then, Mr. Phillips began to move slowly towards the teenagers while continuing to
play his drum and sing. Others started to follow behind Mr. Phillips. I decided to follow Mr.
Phillips, too, and photograph him and the others with him, as I had been covering the Indigenous
Peoples March all day.

10. As Mr. Phillips approached the teenagers, the Black Hebrew Israelites seemed to
calm down, and the teenagers’ attention turned towards Mr. Phillips. The atmosphere of tension
began to grow as the teenagers became more riled-up. I remember seeing several teenagers
jumping up and down and doing the tomahawk chop in front of Mr. Phillips. I viewed this behavior
and the tomahawk chop as insensitive and disrespectful to Mr. Phillips and the other Indigenous
people in attendance. It seemed like a clash of three cultures (the teenagers, the Indigenous people,
and the Black Hebrew Israelites), and there was a lot of ignorance in that space. The teenagers may

not have had in their minds that they were causing tensions at the time, but to me they seemed to
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lack a general understanding of Indigenous culture, including prayer through drumming and
deference to elders like Mr. Phillips.

11. Mr. Phillips then started to move through the big crowd of teenagers. At this point,
it looked to me that Mr. Phillips was trying to go walk up the stairs.

12. As Mr. Phillips moved forward, the teenagers were moving aside and letting Mr.
Phillips through, opening up a path for him. But a teenager I now know to be Nicholas Sandmann
did not move aside and instead stood in the path directly in Mr. Phillips’s way. From my viewpoint,
Mr. Sandmann seemed to intentionally block Mr. Phillips, and it appeared to me that Mr.
Sandmann was not going to let Mr. Phillips pass through.

13. | As Mr. Sandmann stood there in front of Mr. Phillips, the whole situation became
more intense, and at times felt very heavy and oppressive to me. The teenagers’ energy seemed to
increase, and they appeared to be cheering-on Mr. Sandmann, as though they were spectators in a
sports match between Mr. Sandmann and Mr. Phillips.

14. I recall the standoff between Mr. Sandmann and Mr. Phillips ending around the
time that the teenagers’ chaperones told them that their buses had arrived. I remember that Mr.
Phillips looked very emotional and sad after. He was teary-eyed and saying things like, “This isn’t
what America stands for.”

15. I left the Lincoln Memorial area shortly afterwards. That night, I saw some sights
in Washington, D.C., had dinner by myself, and attended a show on my own. The next day, I stayed
in Washington, D.C. by myself to document the Women’s March before driving home.

16. understand that Mr. Sandmann has identified me as having been part of a “group”
led by Mr. Phillips that planned some kind of publicity stunt. That is not true. I attended the events

in D.C. by myself as a photojournalist. I did not personally know Mr. Phillips. Neither Mr. Phillips
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nor anyone else asked me to join them or photograph or record anything. I also did not hear Mr.
Phillips or anyone else discuss anything like that. Generally during the entire day of the Indigenous
Peoples March, the conversations I recall having with anyone who participated in the March were
in my capacity as a photojournalist covering the March, including asking people there why they
decided to attend the March and what it meant to them..

| affirm on the penalties of perjury that the foregoing is true and correct, to the best of my

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knowledge.
